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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDAS|§ APR -9 AMIN: 47
FORT MYERS DIVISION

    

CUS DISTRICT COURT |
‘STRICT OF FLORIDA
ORIDA

UNITED STATES OF AMERICA © FORT HYERS Fi
v. CASE NO. 2:18-cr-19-FtM-38CM
JANE DOE Under Seal

MODIFIED CONSENT MOTION FOR ENTRY OF A
SUPPLEMENTAL STIPULATED PROTECTIVE ORDER PURSUANT TO
FEDERAL RULE OF CRIMINAL PROCEDURE 16(d)(1)

Pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure, the United
States hereby moves for entry by this Court of a supplemental stipulated protective order
that will guard against the dissemination of sensitive discovery materials to any person
not a party to, or involved in, this case. The government further moves for the entry of
the attached Supplemental Protective Order.

In support of this motion, the government states the following:

hi As part of the discovery in this case, and in the interests of time, the
government will provide to the defendant’s counsel sensitive discovery material that
includes elements which would normally be redacted, as not both relevant and helpful to
the defense.

2: The government requests this Court enter the proposed supplemental
protective order that would govern the use of the relevant sensitive information in court
filings and open court. This order would be in addition to the current protective order in

place in this matter.
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3. The defendant has consented to the filing of this motion and the proposed
supplemental protective order.

WHEREFORE, the government moves that the attached proposed supplemental
protective order be issued by the Court preventing the dissemination of the specified law
enforcement sensitive information in this matter at trial or any other public setting.

Respectfully submitted,

MARIA CHAPA LOPEZ

LF pL Attorney

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U.S. v. Jane Doe Case No. 2:18-cr-19-FtM-38CM

CERTIFICATE OF SERVICE

I hereby certify that on April 6, 2018, I served a copy of the foregoing Motion and
Proposed Order, in person to counsel for the defendant, Russell K. Rosenthal, Assistant

Federal Defender, 1540 Broadway, Fort Myers, Florida 33901.

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